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    Proposed Co-Counsel for Debtors and                        Proposed Co-Counsel for Debtors and
    Debtors in Possession                                      Debtors in Possession

                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


In re:                                                          Chapter 11

WEWORK INC., et al.,                                            Case No.      23‑19865 (JKS)

                                     Debtors.1                  (Joint Administration Requested)

                                                                HEARING DATE AND TIME:
                                                                November 28, 2023, 10:00 a.m., prevailing
                                                                Eastern Time

                                                                ORAL ARGUMENT WAIVED UNLESS
                                                                OBJECTIONS TIMELY FILED

                 NOTICE OF DEBTORS’ MOTION FOR ENTRY OF AN
          ORDER (I) AUTHORIZING (A) REJECTION OF CERTAIN UNEXPIRED
           LEASES AND (B) ABANDONMENT OF ANY PERSONAL, EFFECTIVE
          AS OF THE REJECTION DATE AND (II) GRANTING RELATED RELIEF

          PLEASE TAKE NOTICE that, subject to Court availability, on November 28, 2023, at

10:00 a.m., prevailing Eastern Time, the above-captioned debtors and debtors in possession


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
      principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017, and the Debtors’ service
      address in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
      Beaverton, OR 97005.
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(the “Debtors”), by and through their undersigned proposed counsel, shall move (the “Motion”)

before the Honorable John K. Sherwood, United States Bankruptcy Judge, in Courtroom 3D of the

United States Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”),

50 Walnut Street, Newark, NJ 07102, for entry of an order (the “Order”), substantially in the form

submitted herewith, (a) authorizing the Debtors to (i) reject certain unexpired leases, including any

amendments, modifications, or supplements thereto, and (ii) abandon certain equipment, fixtures,

furniture, or other personal property that may be located at the premises, each as effective as of

the Rejection Date; and (b) granting related relief.

        PLEASE TAKE FURTHER NOTICE that in support of the Motion, the Debtors shall

rely on the accompanying Motion, which sets forth the relevant legal and factual bases upon which

the relief requested should be granted. A proposed Order granting the relief requested in the

Motion is also submitted herewith.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in

the Motion shall: (i) be in writing, (ii) state with particularity the basis of the objection; and (iii) be

filed with the Clerk of the Bankruptcy Court electronically by attorneys who regularly practice

before the Bankruptcy Court in accordance with the General Order Regarding Electronic Means

for Filing, Signing, and Verification of Documents dated March 27, 2002 (the “General Order”)

and the Commentary Supplementing Administrative Procedures dated as of March 2004

(the “Supplemental Commentary”) (the General Order, the Supplemental Commentary, and the

User’s Manual for the Electronic Case Filing System can be found at www.njb.uscourts.gov, the

official website for the Bankruptcy Court) and, by all other parties-in-interest, on CD-ROM in

Portable Document Format (PDF), and shall be served in accordance with the General Order and




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the Supplemental Commentary, so as to be received no later than seven (7) days before the hearing

date set forth above.

        PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these chapter

11 cases may be obtained free of charge by visiting the website of Epiq Corporate Restructuring,

LLC at https://dm.epiq11.com/WeWork. You may also obtain copies of any pleadings by visiting

the Court’s website at https://www.njb.uscourts.gov in accordance with the procedures and fees

set forth therein.

        PLEASE TAKE FURTHER NOTICE that, unless responses are timely and properly

filed and served, the Motion shall be decided on the papers in accordance with D.N.J. LBR

9013-3(d), and the relief requested may be granted without further notice or hearing.

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         WHEREFORE, the Debtors request that the Court interim and final orders, in

 substantially the forms submitted herewith, granting the relief requested herein and such other

 relief as is just and proper under the circumstances.

Dated: November 7, 2023
/s/ Michael D. Sirota
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Proposed Co-Counsel for Debtors and             Proposed Co-Counsel for Debtors and
Debtors in Possession                           Debtors in Possession
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Proposed Co-Counsel for Debtors and                         Proposed Co-Counsel for Debtors and
Debtors in Possession                                       Debtors in Possession

                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

WEWORK INC., et al.,                                          Case No. 23-19865 (JKS)

                                   Debtors.1                  (Joint Administration Requested)


                  DEBTORS’ OMNIBUS MOTION SEEKING ENTRY
                OF AN ORDER (I) AUTHORIZING (A) THE REJECTION
           OF CERTAIN UNEXPIRED LEASES AND (B) THE ABANDONMENT
           OF CERTAIN PERSONAL PROPERTY, IF ANY, EACH EFFECTIVE
         AS OF THE REJECTION DATE; AND (II) GRANTING RELATED RELIEF

         TO: THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

as follows in support of this motion (the “Motion”):2




1   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
    principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
    in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
    Beaverton, OR 97005.
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                                               Relief Requested

        1.       The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”): (i) authorizing (a) the rejection of certain unexpired leases, including

any amendments, modifications, or supplements thereto (each, a “Lease,” and collectively,

the “Leases”) for nonresidential real property located at the premises (as applicable,

the “Premises”) set forth on Schedule 13 to Exhibit A attached hereto and (b) the abandonment

of certain equipment, fixtures, furniture, or other personal property (the “Personal Property”) that

may be located at the Premises, each effective as of the later of (x) the rejection date listed on

Schedule 1 to the Order and (y) the date the Debtors have surrendered the premises as set forth

herein; and (ii) granting related relief.

                                          Jurisdiction and Venue

        2.       The United States Bankruptcy Court for the District of New Jersey (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order

of Reference to the Bankruptcy Court Under Title 11, entered July 23, 1984, and amended on

September 18, 2012 (Simandle, C.J.). The Debtors confirm their consent to the Court’s entering

a final order in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.


2   A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
    the Debtors’ chapter 11 cases, is set forth in the Declaration of David Tolley, Chief Executive Officer of
    WeWork Inc., in Support of the Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed
    contemporaneously herewith. Capitalized terms used but not defined in this Motion have the meaning ascribed
    to them in the First Day Declaration.

3   The Debtors reserve the right to amend Schedule 1 to the Order by removing certain leases from such exhibit
    prior to the hearing on this Motion.



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       4.     The bases for the relief requested herein are sections 105(a), 365(a), and 554 of

title 11 of the United States Code (the “Bankruptcy Code”), rule 6006 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 9013-1 and 9013-5 of the Local

Bankruptcy Rules for the District of New Jersey (the “Local Rules”).

                                         Background

       5.     The Debtors, together with their non‑Debtor affiliates (collectively, “WeWork” or

the “Company”), are the global leader in flexible workspace, integrating community, member

services, and technology. Founded in 2010 and headquartered in New York City, WeWork’s

mission is to create a collaborative work environment where people and companies across a

variety of industries, from freelancers to Fortune 100 companies, come together to optimize

performance. WeWork is publicly traded on the New York Stock Exchange and employs over

2,650 full‑time and fifty part-time workers in the United States and abroad. The Company

operates over 750 locations in thirty-seven countries and is among the top commercial real estate

lessors in business hubs including New York City, London, Dublin, Boston, and Miami. For the

fiscal year 2022, WeWork’s revenue was approximately $3.25 billion. The Debtors commenced

these chapter 11 cases to rationalize their lease portfolio, right-size their balance sheet, and

position WeWork for sustainable, long-term growth.

       6.     On November 6, 2023 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code. The Debtors have also filed a motion

requesting procedural consolidation and joint administration of these chapter 11 cases pursuant

to Bankruptcy Rule 1015(b). The Debtors are operating their business and managing their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. No request for the appointment of a trustee or examiner has been made in these chapter

11 cases, and no official committees have been appointed or designated.


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                                     Leases to Be Rejected

       7.      As discussed in the First Day Declaration, the Debtors have worked tirelessly to

build stakeholder consensus around a value-maximizing restructuring of the Company. The

Debtors’ efforts on this front yielded an agreement in principle on the terms of that restructuring

among the Company and certain of its key creditor constituencies, as reflected in the

Restructuring Support Agreement, which is attached as Exhibit B to the First Day Declaration.

A key component of the Company’s go-forward business plan is the continuation and completion

of the Debtors’ ongoing effort to rationalize their lease portfolio. This effort entails, among

other things, the closure of certain underperforming locations following a comprehensive

cost-benefit analysis.

       8.      With the assistance of Hilco Real Estate, LLC (“Hilco”), the Company’s real

estate advisor, the Company’s lease rationalization process has accelerated in recent months in

connection with the Company’s broader restructuring efforts. As of the Petition Date, Hilco is in

active negotiations with over 400 landlords in an effort to consummate lease amendment

agreements to help maximize the value of the Debtors’ go-forward business. Hilco has also

aided in the Debtors’ review and identification of Leases that are likely to continue to drive

losses for the Debtors and should be rejected.

       9.      The Debtors’ meticulous, well-considered Lease rejection plan is centered on

value maximization.      First, the Debtors, with the assistance of their advisors, conducted a

comprehensive analysis of the Debtors’ lease portfolio, financial performance, and market

geography to identify locations that provided limited or no benefit to the Debtors.          Once

identified, the Debtors determined the best strategy to maximize value following exit of the

applicable premises, including by transferring members at the loss-making premises to nearby




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higher performing locations and exploring options to allow certain members to negotiate new

leases with landlords of the rejected Leases.

        10.     By this Motion, the Debtors seek to reject the Leases set forth in Schedule 1, to be

effective as of the later of (i) the “Rejection Date” identified in Schedule 1 or (ii) the date the

Debtors relinquish control of the premises by notifying the affected landlord in writing (email

being sufficient), of the Debtors’ surrender of the premises and (a) turning over keys issued by

the landlord, key codes, and/or security codes, if any, to the affected landlord or (b) notifying

such affected landlord or such landlord’s counsel (if any) in writing (email being sufficient) that

the property has been surrendered, all WeWork-issued key cards have been deactivated unless

otherwise agreed with the landlord, and the landlord may rekey the leased premises (the later of

(i) and (ii), the “Rejection Date”). The Debtors may modify the Rejection Date set forth in

Schedule 1, and intend to do so, subject to the Court’s entry of the Order, upon seven (7)-days’

notice to affected landlords. For the avoidance of doubt, the Debtors may agree with an affected

landlord, through written confirmation (which may be by email through counsel), to an

alternative Rejection Date earlier than the rejection date set forth in Schedule 1 to the order.

        11.     The Debtors’ lease portfolio has been, and continues to be, a significant

contributing factor to their current financial challenges. The rejection of the Leases is critical for

the Debtors to administer their estates efficiently during the pendency of these chapter 11 cases.

As of the Rejection Date, the Debtors will have vacated most of the Leases sought to be rejected

by this Motion.4 Therefore, absent rejection, the Debtors may be obligated to pay rent under the

Leases even though they will have ceased operations at, and will no longer be in possession of,


4   In some circumstances, the Debtors have allowed for certain members to negotiate new arrangements with
    landlords of the rejected Leases so that the member may stay on the affected premises. The Debtors are not
    party to such new arrangements.



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such locations. Moreover, in addition to their obligations to pay rent under the Leases, the

Debtors may be obligated to pay certain real property taxes, utilities, insurance, and other related

charges associated with the Leases. As such, the Debtors have determined, as a sound exercise

of their business judgment, that the cost of the Leases exceeds any marginal benefit that could

potentially be achieved through assignments or subleases.

        12.     Accordingly, in an effort to reduce unnecessary postpetition rent and

administrative costs, the Debtors have determined that it is in the best interests of their estates to

reject the Leases set forth on Schedule 1, effective as of the Rejection Date.

                               Personal Property to Be Abandoned

        13.     To the extent that any Personal Property is located at the Premises, the Debtors

will evaluate such remaining Personal Property at the Premises to determine whether such

Personal Property is (a) of minimal or no material value or benefit to the Debtors’ estates,

(b) burdensome insofar as the costs and expenses of removal and storage of such property are

likely to exceed the net proceeds realizable from their sale, and/or (c) the costs of removal or

storage would be disproportionately burdensome. Because the Debtors plan to shut down all

operations at the Premises, the Personal Property, if any, will no longer be necessary for the

administration of the Debtors’ estates. For the avoidance of doubt, the Debtors seek to abandon

such Personal Property remaining in the Leases as of the Rejection Date, as set forth on

Schedule 1, pursuant to section 554 of the Bankruptcy Code.

        14.     Accordingly, to reduce postpetition administrative costs and, in the exercise of the

Debtors’ sound business judgment, the Debtors believe that the abandonment of Personal

Property that may be located at each of the Premises, if any, is appropriate and in the best

interests of the Debtors, their estates, and their creditors.




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                                         Basis for Relief

I.     Rejection of the Leases Reflects the Debtors’ Sound Business Judgment.

       15.     Section 365(a) of the Bankruptcy Code provides that a debtor in possession,

“subject to the court’s approval, may . . . reject any executory contract or unexpired lease of the

debtor.” The decision to assume or reject an executory contract or unexpired lease is a matter

within the “business judgment” of the debtor. See Nat’l Labor Relations Bd. v. Bildisco &

Bildisco (In re Bildisco), 682 F.2d 72, 79 (3d Cir. 1982) (“The usual test for rejection of an

executory contract is simply whether rejection would benefit the estate, the ‘business judgment’

test.” (citation omitted)); see also Glenstone Lodge, Inc. v. Buckhead Am. Corp. (In re Buckhead

Am. Corp.), 180 B.R. 83, 88 (Bankr. D. Del. 1995). Application of the business judgment

standard requires a court to approve a debtor’s business decision unless the decision is the

product of bad faith, whim, or caprice. See, e.g., In re HQ Glob. Holdings, Inc., 290 B.R. 507,

511–12 (Bankr. D. Del. 2003).        Further, “[t]his provision allows a trustee to relieve the

bankruptcy estate of burdensome agreements which have not been completely performed.”

Stewart Title Guar. Co. v. Old Republic Nat’l Title Ins. Co., 83 F.3d 735, 741 (5th Cir. 1996)

(citation omitted).

       16.     Rejection of a contract or unexpired lease is appropriate where such rejection

would benefit the estate. See Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp. (In re Sharon

Steel Corp.), 872 F.2d 36, 39–40 (3d Cir. 1989). Upon finding that a debtor has exercised its

sound business judgment in determining that rejection of certain contracts or leases is in the best

interests of its creditors and all parties in interest, a court should approve the rejection under

section 365(a). See Mission Prod. Holdings, Inc. v. Tempnology, LLC, 139 S. Ct. 1652, 1658

(2019) (stating that the bankruptcy court will generally approve a debtor’s choice to assume or

reject an executory contract under the deferential “business judgement rule”); In re Nickels


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Midway Pier, LLC, 332 B.R. 262, 271 (Bankr. D.N.J. 2005), aff’d in part, rev’d in part and

remanded, 341 B.R. 486 (D.N.J. 2006), aff’d, 255 F. App’x 633 (3d Cir. 2007) (stating that a

bankruptcy court should defer to a debtor’s decision to reject a contract unless it is so

unreasonable that the decision could only be based on bad faith or whim); In re Cent. Jersey

Airport Servs., LLC, 282 B.R. 176, 183 (Bankr. D.N.J. 2002) (stating that to satisfy the “business

judgement test” for rejecting executory contracts and unexpired leases, the debtor must establish

that the rejection will benefit the estate).

II.     Rejection of the Leases is in the Best Interest of the Debtors’ Estates.

        17.     After evaluation and analysis, the Debtors, with the assistance of their advisors,

have determined that the rejected Leases will continue to operate at a loss in the Debtors’ lease

portfolio, regardless of the Debtors’ efforts to retain and market the Leases, ultimately frustrating

the Debtors’ efforts to maintain profitable operations at the premises. Therefore, the Leases are

otherwise a burden to the Debtors’ estates and cannot be efficiently administered by the Debtors’

estates during the pendency of these chapter 11 cases.

        18.     The Debtors seek to reject the Leases, pursuant to section 365(a) of the

Bankruptcy Code, to avoid the incurrence of any additional unnecessary expenses related to the

Leases and operating the associated premises. The Debtors have concluded that the cost of

maintaining the Leases outweighs any revenues that such locations or premises currently

generate or that they are likely to generate in the near future. Absent rejection, the Debtors

believe that the Leases will continue to burden the Debtors’ estates with substantial

administrative expenses at a critical time when the Debtors are making concerted efforts to

maximize liquidity and preserve the Debtors’ estates. Rejecting the Leases will help ease the

Debtors’ cash burn and increase the Debtors’ liquidity.




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       19.     For all of the foregoing reasons, the Debtors have decided, in the sound exercise

of their business judgment, to reject the Leases. Accordingly, the Debtors respectfully request

that the Bankruptcy Court authorize the rejection of the Leases pursuant to section 365(a) of the

Bankruptcy Code.

III. Abandonment of Any Personal Property Is Authorized by Section 554(a) of the
Bankruptcy Code.

       20.     The abandonment of the Personal Property is appropriate and authorized by

the Bankruptcy Code. See 11 U.S.C. § 554(a). Section 554(a) of the Bankruptcy Code provides

that “[a]fter notice and a hearing, the trustee may abandon any property of the estate that is

burdensome to the estate or that is of inconsequential value and benefit to the estate.” Courts

generally give a debtor in possession great deference to its decision to abandon property. See In

re Contract Research Solutions, Inc., 2013 WL 1910286, at *4 (Bankr. D. Del. May 1, 2013)

(“In abandoning property under § 554, the debtor ‘need only demonstrate that [it] has exercised

sound business judgment in making the determination to abandon.’”), citing In re Cult

Awareness Network, Inc., 205 B.R. 575, 579 (Bankr. N.D. Ill. 1997). The right to abandon

property is virtually unfettered, unless: (a) abandonment of the property will contravene laws

designed to protect public health and safety; or (b) the property poses an imminent threat to the

public’s welfare. See In re Midlantic Nat’l Bank, 474 U.S. 494, 501 (1986). Neither of these

limitations are relevant under the instant facts.

       21.     Before deciding to abandon the Personal Property, if any, the Debtors have

determined or will determine whether the costs of removing, transporting, and storing such

Personal Property outweigh any benefit to the Debtors’ estates. Further, any efforts by the

Debtors to move or market the Personal Property could unnecessarily delay the Debtors’

surrender of the Premises and the rejection of the Leases giving rise to additional incurrence of



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administrative rent and other lease obligations. Accordingly, it is in the best interests of the

Debtors and their estates for the Debtors to abandon Personal Property located on the Premises.

IV.    Rejection of the Leases Effective as of the Rejection Date Is Appropriate.

       22.     Section 365 of the Bankruptcy Code does not restrict a bankruptcy court from

applying rejection retroactively. See In re Jamesway Corp., 179 B.R. 33, 37 (S.D.N.Y. 1995)

(stating that section 365 does not include “restrictions as to the manner in which the court can

approve rejection”); see also In re CCI Wireless, LLC, 297 B.R. 133, 138 (D. Colo. 2003)

(noting that section 365 “does not prohibit the bankruptcy court from allowing the rejection of

[leases] to apply retroactively”). Courts have held that a bankruptcy court may, in its discretion,

authorize rejection retroactively to a date prior to entry of an order authorizing such rejection

where the balance of equities favors such relief. See In re Thinking Machs. Corp., 67 F.3d 1021,

1028–29 (1st Cir. 1995) (stating that “rejection under section 365(a) does not take effect until

judicial approval is secured, but the approving court has the equitable power, in suitable cases, to

order a rejection to operate retroactively”); In re Chi-Chi’s, Inc., 305 B.R. 396, 399 (Bankr. D.

Del. 2004) (stating “the court’s power to grant retroactive relief is derived from the bankruptcy

court’s equitable powers so long as it promotes the purposes of § 365(a)”); CCI Wireless, 297

B.R. at 140 (holding that a “court has authority under section 365(d)(3) to set the effective date

of rejection at least as early as the filing date of the motion to reject”); BP Energy Co. v.

Bethlehem Steel Corp. (In re Bethlehem Steel Corp.), No. 03-6419, at *3 (S.D.N.Y. Nov. 15,

2002) (“We cannot conclude . . . that a bankruptcy court’s assignment of a retroactive rejection

date falls outside of its authority when the balance of the equities favors this solution.”); see also

In re At Home Corp., 392 F.3d 1064, 1065–66 (9th Cir. 2004) (holding “that a bankruptcy court

may approve retroactively the rejection of an unexpired nonresidential lease”). In considering

whether to approve retroactive rejection, courts examine a number of factors, and generally


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approve retroactive rejection where it promotes the purposes of section 365(a) of the Bankruptcy

Code. See In re Chi-Chi’s, Inc., 305 B.R. at 399 (“[T]he court’s power to grant retroactive relief

is derived from the bankruptcy court’s equitable powers so long as it promotes the purposes of

§ 365(a). . . . only after balancing the equities in a particular case, should the court approve a

retroactive rejection of nonresidential lease.”).

       23.     The balance of equities favors rejection of the Leases effective as of the Rejection

Date. Without such relief, the Debtors will incur unnecessary administrative expenses related to

such Leases—agreements that do not provide a net benefit to the Debtors’ estates in light of the

rent and related charges the Debtors are obligated to pay thereunder without corresponding and

commensurate benefits to the estates. See 11 U.S.C. § 365(d)(3). The landlords of the Leases

will not be unduly prejudiced if the rejection is deemed effective as of the Rejection Date.

Contemporaneously with the filing of this Motion, the Debtors will cause notice of this Motion

to be served on the landlords of the Leases, thereby allowing such party sufficient opportunity to

respond accordingly. Possession of the Premises will be promptly delivered to the landlords,

along with an unequivocal and irrevocable statement of surrender and abandonment of the

Premises. The Debtors have sought the relief requested at the earliest possible moment in these

chapter 11 cases as soon as they determined that the rejection of the Leases was in the best

interests of their estates and do not seek to reject the Lease effective as of the Rejection Date due

to any undue delay on their own part.

       24.     Courts in this and other jurisdictions have approved relief similar to that requested

herein. See, e.g., In re Cyxtera Techs., Inc., No. 23-14853 9JKS) (Bankr. D.N.J. July 20, 2023)

(authorizing rejection of unexpired leases effective as of a specified prior date); In re L’Occitane,

Inc., No. 21-10632 (MBK) (Bankr. D.N.J. Jan. 28, 2021) (same); In re SLT Holdco, Inc., No. 20-




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18368 (MBK) (Bankr. D.N.J. July 10, 2020) (same); In re Modell’s Sporting Goods, Inc., No.

20-12179 (VFP) (Bankr. D.N.J. Mar. 13, 2020) (same); In re Alex & Ani, LLC, No. 21-10918

(CTG) (Bankr. D. Del. July 16, 2021) (authorizing rejection of unexpired leases effective as of

the petition date); In re RGN Grp. Holdings, LLC, No. 20-11961 (BLS) (Bankr. D. Del. Feb. 11,

2021) (authorizing rejection of unexpired leases effective as of a specified prior date); In re

Town Sports Int’l., LLC, No. 20-12168 (CSS) (Bankr. D. Del. Nov. 24, 2020) (authorizing

rejection of unexpired leases effective as of the petition date).5

        25.      Accordingly, the Debtors respectfully submit that the Court should deem the

Leases rejected effective as of the Rejection Date.

                                           Reservation of Rights

        26.      Notwithstanding anything to the contrary herein, nothing contained in this Motion

or any actions taken pursuant to any order granting the relief requested by this Motion is

intended as or should be construed or deemed to be: (a) an implication or admission as to the

amount of, basis for, or validity of any particular claim against the Debtors under the Bankruptcy

Code or other applicable non‑bankruptcy law; (b) a waiver of the Debtors’ or any other party in

interest’s rights to dispute any particular claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication, admission, or finding that any particular claim is an

administrative expense claim, other priority claim, or of a type otherwise specified or defined in

this Motion or any order granting the relief requested by this Motion; (e) a request or

authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365

of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability, or perfection

of any lien on, security interest in, or other encumbrance on property of the Debtors’ estates;

5   Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.



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(g) a waiver or limitation of the Debtors’, or any other party in interest’s, claims, causes of

action, or other rights under the Bankruptcy Code or any other applicable law; (h) an approval,

assumption, adoption, or rejection of any agreement, contract, lease, program, or policy under

section 365 of the Bankruptcy Code; (i) a concession by the Debtors that any liens (contractual,

common law, statutory, or otherwise) that may be satisfied pursuant to the relief requested in this

Motion are valid, and the rights of all parties in interest are expressly reserved to contest the

extent, validity, or perfection or seek avoidance of all such liens; (j) a waiver of the obligation of

any party in interest to file a proof of claim; or (k) otherwise affecting the Debtors’ rights under

section 365 of the Bankruptcy Code to assume or reject any executory contract or unexpired

lease. If the Court grants the relief sought herein, any payment made pursuant to the Court’s

order is not intended and should not be construed as an admission as to the validity, priority, or

amount of any particular claim or a waiver of the Debtors’ rights to subsequently dispute such

claim.

                                 Waiver of Memorandum of Law

         27.     The Debtors request that the Court waive the requirement to file a separate

memorandum of law pursuant to Local Rule 9013-1(a)(3) because the legal basis upon which the

Debtors rely is set forth herein and the Motion does not raise any novel issues of law.

                                         No Prior Request

         28.     No prior request for the relief sought in this Motion has been made to this Court

or any other court.

                                                  Notice

         29.     The Debtors will provide notice of this Motion to the following parties or their

respective counsel: (a) the U.S. Trustee for the District of New Jersey; (b) the holders of the

thirty largest   unsecured    claims    against     the    Debtors   (on   a   consolidated    basis);


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(c) Davis Polk & Wardwell LLP and Greenberg Traurig, LLP, as counsel to the Ad Hoc Group;

(d) Weil, Gotshal & Manges LLP and Wollmuth Maher & Deutsch LLP, as counsel to SoftBank;

(e) Cooley LLP, as counsel to Cupar Grimmond, LLC; (f) the agents under each of the Debtors’

prepetition secured credit facilities and counsel thereto; (g) the office of the attorney general for

each of the states in which the Debtors operate; (h) the United States Attorney’s Office for the

District of New Jersey; (i) the Securities and Exchange Commission; (j) the Internal Revenue

Service; (k) the landlords of the Leases listed on Schedule 1 to Exhibit A; (l) the Customer

Counterparties; and (m) any party that has requested notice pursuant to Bankruptcy Rule 2002.

In light of the nature of the relief requested, no other or further notice need be given.

                            [Remainder of page intentionally left blank]




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         WHEREFORE, the Debtors request that the Court interim and final orders, in

 substantially the forms submitted herewith, granting the relief requested herein and such other

 relief as is just and proper under the circumstances.

Dated: November 7, 2023
/s/ Michael D. Sirota
COLE SCHOTZ P.C.                                KIRKLAND & ELLIS LLP
Michael D. Sirota, Esq.                         KIRKLAND & ELLIS INTERNATIONAL LLP
Warren A. Usatine, Esq.                         Edward O. Sassower, P.C.
Felice R. Yudkin, Esq.                          Joshua A. Sussberg, P.C (pro hac vice pending)
Ryan T. Jareck, Esq.                            Steven N. Serajeddini, P.C. (pro hac vice pending)
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Proposed Co-Counsel for Debtors and             Proposed Co-Counsel for Debtors and
Debtors in Possession                           Debtors in Possession
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                                     Exhibit A

                                  Proposed Order
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
KIRKLAND & ELLIS LLP
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Proposed Co-Counsel for Debtors and
Debtors in Possession


In re:                                                            Chapter 11

WEWORK INC., et al.,                                              Case No. 23-19865 (JKS)

         Debtors.1                                                (Joint Administration Requested)



1   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
    principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
    in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
    Beaverton, OR 97005.
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             ORDER (I) AUTHORIZING (A) THE REJECTION OF
         CERTAIN UNEXPIRED LEASES AND (B) THE ABANDONMENT
       OF CERTAIN PERSONAL PROPERTY, IF ANY, EACH EFFECTIVE
     AS OF THE REJECTION DATE; AND (II) GRANTING RELATED RELIEF

      The relief set forth on the following pages, numbered three (3) through seven (7), is

ORDERED.
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Debtors:                  WeWork Inc., et al.
Case No.                  23-19865 (JKS)
Caption of Order:         Order (I) Authorizing (A) the Rejection of Certain Unexpired Leases and
                          (B) the Abandonment of Certain Personal Property, if Any, Each Effective
                          as of the Rejection Date; and (II) Granting Related Relief

        Upon the Debtors’ Omnibus Motion Seeking Entry of an Order (I) Authorizing (A) the

Rejection of Certain Unexpired Leases and (B) the Abandonment of Certain Personal Property,

If Any, Each Effective as of the Rejection Date; and (II) Granting Related Relief (the “Motion”)2

of the above-captioned debtors and debtors in possession (collectively, the “Debtors”) for entry

of an order (this “Order”) (i) authorizing (a) the rejection of the Leases at the Premises set forth

on Schedule 1 attached hereto and (b) the abandonment of the Personal Property that may be

located at each of the Premises, if any, each effective as of the Rejection Date; and (ii) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

the Court having jurisdiction to consider the Motion and the relief requested therein pursuant to

28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy Court Under

Title 11 of the United States District Court for the District of New Jersey, entered July 23, 1984,

and amended on September 18, 2012 (Simandle, C.J.); and this Court having found that venue of

this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the Debtors’ notice of the Motion was appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and upon all of the proceedings




2   Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Motion.
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(Page | 4)
Debtors:               WeWork Inc., et al.
Case No.               23-19865 (JKS)
Caption of Order:      Order (I) Authorizing (A) the Rejection of Certain Unexpired Leases and
                       (B) the Abandonment of Certain Personal Property, if Any, Each Effective
                       as of the Rejection Date; and (II) Granting Related Relief

had before the Court and after due deliberation and sufficient cause appearing therefor IT IS

HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      Each of the Leases set forth on Schedule 1 attached hereto is rejected effective as

of the later of (i) the “Rejection Date” identified in Schedule 1 or (ii) the date the Debtors

relinquish control of the premises by notifying the affected landlord in writing (email being

sufficient), of the Debtors’ surrender of the premises and (a) turning over keys issued by the

landlord, key codes, and/or security codes, if any, to the affected landlord or (b) notifying such

affected landlord or such landlord’s counsel (if any) in writing (email being sufficient) that the

property has been surrendered, all WeWork-issued key cards have been deactivated, unless

otherwise agreed to by landlord, and the landlord may rekey the leased premises (the later of (i)

and (ii), the “Rejection Date”).

       3.      The Debtors shall not be liable for any additional administrative expenses arising

after the Rejection Date with respect to the Leases.

       4.      The Debtors are authorized, but not directed, to abandon any Personal Property

located at the Premises and all such property is deemed abandoned as of the Rejection Date. The

applicable counterparty to each Lease may utilize or dispose of such Personal Property without

liability to any third parties, and without further notice to any party claiming an interest in such

abandoned Personal Property. The automatic stay, to the extent applicable, is modified to allow

for such utilization or disposition.
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Debtors:                WeWork Inc., et al.
Case No.                23-19865 (JKS)
Caption of Order:       Order (I) Authorizing (A) the Rejection of Certain Unexpired Leases and
                        (B) the Abandonment of Certain Personal Property, if Any, Each Effective
                        as of the Rejection Date; and (II) Granting Related Relief

       5.        The Debtors may agree with an affected landlord, through written confirmation

(which may be by email through counsel), to an alternative Rejection Date earlier than the date

set forth in Schedule 1.

       6.        The Debtors do not waive any claims that they may have against any counterparty

to the Leases, whether such claims arise under, are related to the rejection of, or are independent

of the Leases.

       7.        Nothing herein shall prejudice the rights of the Debtors to argue that any of the

Leases were terminated prior to the Petition Date, or that any claim for damages arising from the

rejection of the Leases is limited to the remedies available under any applicable termination

provision of such lease, sublease, or contract, as applicable, or that any such claim is an

obligation of a third party, and not that of the Debtors or their estates.

       8.        Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order is intended as or shall be construed or deemed to be: (a) an

implication or admission as to the amount of, basis for, or validity of any particular claim against

the Debtors under the Bankruptcy Code or other applicable non‑bankruptcy law; (b) a waiver of

the Debtors’ or any other party in interest’s rights to dispute any particular claim on any grounds;

(c) a promise or requirement to pay any particular claim; (d) an implication, admission, or

finding that any particular claim is an administrative expense claim, other priority claim, or

otherwise of a type specified or defined in this Order or the Motion or any order granting the

relief requested by the Motion; (e) a request or authorization to assume, adopt, or reject any

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as
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Debtors:               WeWork Inc., et al.
Case No.               23-19865 (JKS)
Caption of Order:      Order (I) Authorizing (A) the Rejection of Certain Unexpired Leases and
                       (B) the Abandonment of Certain Personal Property, if Any, Each Effective
                       as of the Rejection Date; and (II) Granting Related Relief

to the validity, priority, enforceability, or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of the Debtors’, or

any other party in interest’s, claims, causes of action, or other rights under the Bankruptcy Code

or any other applicable law; (h) an approval, assumption, adoption, or rejection of any

agreement, contract, lease, program, or policy under section 365 of the Bankruptcy Code; (i) a

concession by the Debtors that any liens (contractual, common law, statutory, or otherwise) that

may be satisfied pursuant to the relief requested in the Motion are valid, and the rights of all

parties in interest are expressly reserved to contest the extent, validity, or perfection or seek

avoidance of all such liens; (j) a waiver of the obligation of any party in interest to file a proof of

claim; or (k) otherwise affecting the Debtors’ rights under section 365 of the Bankruptcy Code to

assume or reject any executory contract or unexpired lease. Any payment made pursuant to this

Order is not intended and should not be construed as an admission as to the validity, priority, or

amount of any particular claim or a waiver of the Debtors’ or any other party in interest’s rights

to subsequently dispute such claim.

       9.      Notwithstanding anything to the contrary contained in the Motion or this Order,

any payment to be made pursuant to the authority granted in this Order shall not be inconsistent

with, and shall be subject to and in compliance with, the requirements imposed on the Debtors

under the terms of each interim and final order entered by the Court in respect of the Debtors’

Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Use Cash

Collateral, (II) Granting Adequate Protection to the Prepetition Secured Parties, (III) Modifying

the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief filed
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Debtors:               WeWork Inc., et al.
Case No.               23-19865 (JKS)
Caption of Order:      Order (I) Authorizing (A) the Rejection of Certain Unexpired Leases and
                       (B) the Abandonment of Certain Personal Property, if Any, Each Effective
                       as of the Rejection Date; and (II) Granting Related Relief

substantially contemporaneously herewith (the “Cash Collateral Orders”), including compliance

with any budget or cash flow forecast in connection therewith and any other terms and

conditions thereof. Nothing herein is intended to modify, alter, or waive, in any way, any terms,

provisions, requirements, or restrictions of the Cash Collateral Orders. To the extent there is any

inconsistency between the terms of the Cash Collateral Orders and this Order, the terms of the

Cash Collateral Orders shall control.

       10.     Nothing in the Motion or this Order shall be deemed or construed as an approval

of an assumption of any contract pursuant to section 365 of the Bankruptcy Code.

       11.     Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.

       12.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       13.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

       14.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       15.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.
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                                    Schedule 1

                                  Rejected Leases
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Day 1 Rejection Exhibit

                                                                                                Landlord / Counterparty      Rejection
No.           Title/Description of Lease         Property Address     Landlord / Counterparty                                                       Abandoned Personal Property
                                                                                                         Address           Effective Date
 1 Terminated Lease with Signed Termination   3000 S Robertson Blvd   3000 S Robertson          4 Park Plaza, Suite 400,        11/6/2023 Miscellaneous Furniture, Fixtures and/or
   Agreement                                  Los Angeles, CA 90034   Property Owner LLC        Irvine, CA, 92614                         Equipment

 2 Unexpired Lease                            1 Little W 12th St      2 Ninth Avenue Partners 177 Christopher Street,           11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              New York, NY 10014      LLC                     New York, NY, 10014                         Equipment

 3 Unexpired Lease                            1 Union Square West     Union Square Associates, One Union Square West,           11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              New York, NY 10003      LLC                      New York, NY, 10003                        Equipment

 4 Unexpired Lease                            10 East 38th Street     10 East 38th Street    34-09 Queens Boulevard,            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              New York, NY 10016      Company, L.L.C.        Long Island City, NY,                        Equipment
                                                                                             11101
 5 Unexpired Lease                            10 East 40th Street     Ronbet 40th Street LLC 9 East 40th Street, 8th            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              New York, NY 10016                             Floor, New York, NY,                         Equipment
                                                                                             10016
 6 Unexpired Lease                            100 Summer Street       100 Summer Owner LLC 500 Boylston St, 21st                11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              WeWork FL 2400                                 Floor, Suite 2100,                           Equipment
                                              Boston, MA 02110                               Boston, MA, 02116

 7 Unexpired Lease                            101 North 1st Avenue    101 North First Ave LLC   222 SW Columbia Street,         11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              Suite 800                                         Suite 700, Portland, OR,                  Equipment
                                              Phoenix, AZ 85003                                 97201

 8 Unexpired Lease                            1045 Howe Street        Grandland Management 206-1168 Hamilton                    11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              Vancouver, BC V6Z 2A9   Ltd. and 1045 Howe     Street, Vancouver,                           Equipment
                                                                      Street Holdings Ltd.   British Columbia, V6B
                                                                                             2S2
 9 Unexpired Lease                            1090 West Pender Street West Pender II LP and  1055 Dunsmuir Street,              11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              Vancouver, BC V6E 2N7 Optrust West Pender Inc. PO Box 49001, Suite                          Equipment
                                                                      and 1090 Pender        1800, Four Bentall
                                                                      Properties Ltd.        Centre, Vancouver,
                                                                                             British Columbia, V7X
                                                                                             1B1
10 Unexpired Lease                            1156 6th Avenue         1156 APF LLC           28 West 44th Street, 7th           11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              New York, NY 10036                             Floor, New York, NY,                         Equipment
                                                                                             10036
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Project Realize
Day 1 Rejection Exhibit

                                                                                                Landlord / Counterparty       Rejection
No.           Title/Description of Lease      Property Address        Landlord / Counterparty                                                        Abandoned Personal Property
                                                                                                       Address              Effective Date
11 Unexpired Lease                         125 S Clark Street, 17th   CR-Chicago 125 South      1251 Avenue of the               11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           floor                      Clark Street, LLC         Americas, 27 th Floor,                     Equipment
                                           Chicago, IL 60603                                    New York, NY, 10020

12 Unexpired Lease                         130 Madison Avenue         Walsam 130 MAD LLC        419 Park Avenue South,           11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10016                                   15th Floor, New York,                      Equipment
                                                                                                NY, 10016
13 Unexpired Lease                         1389 Peachtree Street      1389 Peachtree Street,    1776 Peachtree street            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           NorthEast                  LP                        NW, Suite 200S, Atlanta,                   Equipment
                                           Atlanta, GA 30309                                    GA, 30309

14 Unexpired Lease                         1453 3rd Street        Promenade Gateway,            9777 Wilshire Boulevard,         11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Promenade              L.P.                          Suite 815, Beverly Hills,                  Equipment
                                           Santa Monica, CA 90401                               CA, 90212


15 Unexpired Lease                         1455 Market Street      Hudson 1455 Market           11601 Wilshire                   11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           San Francisco, CA 94103 Street, LLC                  Boulevard, Suite 900, Los                  Equipment
                                                                                                Angeles, CA, 90025

16 Unexpired Lease                         161 Avenue of the          Soho AOA Owner, LLC       44 W. 28th Street, 6th           11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Americas New York, NY                                Floor, New York, NY,                       Equipment
                                           10013                                                10001
17 Unexpired Lease                         1619 Broadway              1619 Broadway Realty      60 Columbus Circle, 20th         11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           11th Floor                 LLC                       Floor, New York, NY,                       Equipment
                                           New York, NY 10019                                   10023

18 Unexpired Lease                         171 East Liberty Street    Liberty Market Building   49 Jackes Avenue, Suite          11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Toronto, ON M6K 0A2        Two LP                    200, Toronto, ON, M4T                      Equipment
                                                                                                1E2
19 Unexpired Lease                         180 Geary Street        Geary-Stockton Realty,       150 East 58th Street,            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           San Francisco, CA 94108 LLC                          Penthouse, New York,                       Equipment
                                                                                                NY, 10155

20 Unexpired Lease                         1814 Franklin St           1814 Franklin Investors, 555 12th Street, Suite            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Oakland, CA 94612          LLC                      650, Oakland, CA, 94607                     Equipment
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Project Realize
Day 1 Rejection Exhibit

                                                                                              Landlord / Counterparty     Rejection
No.           Title/Description of Lease      Property Address      Landlord / Counterparty                                                      Abandoned Personal Property
                                                                                                      Address           Effective Date
21 Unexpired Lease                         18191 Von Karman         Lakeshore Land Lessee     2600 Michelson Drive,          11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Avenue                   PT LLC                    17th Floor, Irvine, CA,                  Equipment
                                           Irvine, CA 92612                                   92612

22 Unexpired Lease                         183 Madison Avenue      183 Madison Owner APF 28 West 44th Street,                11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10016      LP                       Floor 7, New York, NY,                     Equipment
                                                                                            10036
23 Unexpired Lease                         200 Broadway            Westfield Fulton Center 185 GREENWICH                     11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10038      LLC                      STREET, Management                         Equipment
                                                                                            Office Oculus Level C2,
                                                                                            New York, NY, 10007
24 Unexpired Lease                         205 Hudson St           Trinity Hudson Holdings, 345 Hudson St, 12th              11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10013      LLC                      Floor, New York, NY,                       Equipment
                                                                                            10014
25 Unexpired Lease                         22 Cortlandt Street     Mayore Estates LLC and 100 Henry Street,                  11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10007      80 Lafayette Associates Brooklyn, NY, 11201                         Equipment
                                                                   LLC
26 Unexpired Lease                         222 Kearny Street       GRE-F 222 Kearny Fee, 900 North Michigan                  11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           San Francisco, CA 94108 LLC and GRE-F 222        Avenue, Suite 1450,                        Equipment
                                                                   Kearny Leasehold, LLC    Chicago, IL, 60611

27 Unexpired Lease                         229 West 36th Street     West 36 TT, LLC           9-20 35th Avenue, Suite        11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           4th floor                                          2L, Astoria, NY, 11106                   Equipment
                                           New York, NY 10018

28 Unexpired Lease                         2420 17th St             2420 17TH STREET LLC      50 Hudson Yards, New           11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Denver, CO 80202                                   York, NY, 10001                          Equipment

29 Unexpired Lease                         25 Taylor St            War Horse Golden Gate 175 Varick Street, New              11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           San Francisco, CA 94102 LLC                   York, NY, 10014                               Equipment


30 Unexpired Lease                         255 Greenwich Street     Resnick 255 Greenwich, 110 East 59th Street,             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10007       LLC                    34th Floor, New York,                       Equipment
                                                                                           NY, 10022
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                                                                                                    Address              Effective Date
31 Unexpired Lease                         261 Madison Ave         260-261 Madison          261 Madison Avenue,               11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10016      Avenue LLC               27th Floor , New York,                      Equipment
                                                                                            NY, 10016
32 Unexpired Lease                         28 West 44th Street     APF 28 West 44 Owner 28 West 44th Street, 7th              11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10036      LP                       Floor, New York, NY,                        Equipment
                                                                                            10036
33 Unexpired Lease                         292 Adelaide Street     Lifetime Adelaide Street 49 Jackes Avenue, Suite           11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           West                    Inc.                     200, Toronto, Ontario,                      Equipment
                                           Toronto, ON M5V 1P6                              M4T 1E2

34 Unexpired Lease                         311 W 43rd St.          DWF V 311 W 43rd, LLC 301 Howard Street, Suite             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10036                               2100, San Francisco, CA,                    Equipment
                                                                                            94105
35 Unexpired Lease                         315 W 36th Street       36 LLC                   419 Park Avenue South,            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10017                               15th Floor, New York,                       Equipment
                                                                                            NY, 10016
36 Unexpired Lease                         3340 Peachtree Rd       TPL Property Owner, L.P. 3340 Peachtree Road               11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           #1010                                            NE, Suite 1660, Atlanta,                    Equipment
                                           Atlanta, GA 30326                                GA, 30326

37 Unexpired Lease                         3601 Walnut St          MCP HUB I PROPERTY,        425 Market Street, Suite        11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Denver, CO 80205        LLC                        1050, San Francisco, CA,                  Equipment
                                                                                              94105
38 Unexpired Lease                         38 West 21st Street     Jack Vogel Associates      36 East 12th Street, 7th        11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10010                                 floor, New York, NY,                      Equipment
                                                                                              10003
39 Unexpired Lease                         40 Water Street         RFM-KTB CSQ Propco,        177 Milk Street, Boston,        11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Boston, MA 02109        LLC                        MA, 02109                                 Equipment

40 Unexpired Lease                         419 Park Avenue South   Walber 419 Company      419 Park Avenue                    11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10016      LLC and 419 Park Avenue South,15th Floor, New                        Equipment
                                                                   South Associates LLC    York, NY, 10016

41 Unexpired Lease                         430 California Street   400 California LLC         430 California Street,          11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           San Francisco, CA 94104                            Basement Level, San                       Equipment
                                                                                              Francisco, CA, 94104
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42 Unexpired Lease                         437 5th Avenue         Ronbet 437 LLC            9 East 40th Street, 8th         11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10016                               Floor, New York, NY,                      Equipment
                                                                                            10016
43 Unexpired Lease                         437 Madison Avenue     Madison Avenue            767 Third Avenue, New           11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10022     Leasehold LLC             York, NY, 10017                           Equipment

44 Unexpired Lease                         44 Wall Street         44 Wall Street Holdings, 3710 Rawlins St., Suite          11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10005     LP                       1100, Dallas, TX 75219                     Equipment

45 Unexpired Lease                         4635 Lougheed Highway Shape Brentwood            2020 One Bentall Centre,        11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Burnaby, BC V5C 3Z6   Limited Partnership,       505 Burrard Street, Box                   Equipment
                                                                 Brentwood Towncentre       206, Vancouver, British
                                                                 Limited Partnership and    Columbia, V7X 1M6
                                                                 0862223 B.C. Ltd.

46 Unexpired Lease                         483 Broadway           C&A 483 Broadway LLC      1407 Broadway, 41st             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10013                               Floor, New York, NY,                      Equipment
                                                                                            10018
47 Unexpired Lease                         500 5th Avenue         500 Fifth Avenue (New     1290 Avenue of the              11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10110     York) LLC                 Americas, New York, NY,                   Equipment
                                                                                            10104
48 Unexpired Lease                         505 Park Avenue        G.S. 505 Park, LLC        505 Park Avenue, New            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10011                               York, NY, 10022                           Equipment

49 Unexpired Lease                         511 West 25th Street   AL 511 West 25th Street 142 West 57th Street,             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10011     Owner, LLC              18th Floor, New York,                       Equipment
                                                                                          NY, 10019
50 Unexpired Lease                         54 W 40th St           54 West 40th Realty LLC 770 Lexington Avenue,             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10018                             9th Floor, New York, NY,                    Equipment
                                                                                          10065
51 Unexpired Lease                         57 East 11th Street    Namor Realty Company 9 West 57th Street, 30th             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10003     L.L.C                   floor, New York, NY,                        Equipment
                                                                                          10019
52 Unexpired Lease                         599 Broadway           599-6 LLC               152 West 57th Street,             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10011                             New York, NY, 10019                         Equipment
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53 Unexpired Lease                         6 East 32nd Street      6E32 Fee Owners LLC        30 West 26th Street, 8th         11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10016                                 floor, New York, NY,                       Equipment
                                                                                              10010
54 Unexpired Lease                         7 West 18th Street      West 18th Street           7501 Wisconsin Avenue,           11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10011      Venture, LLC               Suite 1300W, Bethesda,                     Equipment
                                                                                              MD, 20814
55 Unexpired Lease                         8 West 40th Street      AB 40th Street LLC         110 East 59th Street,            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10018                                 34th Floor, New York,                      Equipment
                                                                                              NY, 10022
56 Unexpired Lease                         800 Market Street       800 Market Street, LLC     425 Market Street, 23rd          11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           San Francisco, CA 94102                            Floor, San Francisco, CA,                  Equipment
                                                                                              94105

57 Unexpired Lease                         81 Prospect Street      RFR/K 81 Prospect          375 Park Avenue, 10th            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Brooklyn, NY 11201      Owner LLC                  Floor, New York, NY,                       Equipment
                                                                                              10152
58 Unexpired Lease                         8305 Sunset Boulevard   Sunset Park Holdings,      1526 South Broadway,             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Los Angeles, CA 90069   LLC                        Los Angeles, CA, 90015                     Equipment

59 Unexpired Lease                         8687 Melrose Ave        Pacific Design Center 1,   750 Lexington Avenue,            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Los Angeles, CA 90069   LLC                        28th Floor, New York,                      Equipment
                                                                                              NY, 10022
60 Unexpired Lease                         920 5th Ave             BXP Madison Centre I       Four Embarcadero                 11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Suite 1500              LLC and BXP Madison        Center Lobby Level, Suite                  Equipment
                                           Seattle, WA 98104       Centre II LLC              One, San Francisco, CA,
                                                                                              94111-5994

61 Unexpired Lease                         980 6th Avenue          VBG 990 AOA LLC      292 Madison Avenue,                  11/10/2023 Miscellaneous Furniture, Fixtures and/or
                                           New York, NY 10018                           7th Floor, New York, NY,                        Equipment
                                                                                        10017
62 Unexpired Lease                         Manhattan Beach        Onni Manhattan Towers 315 W. 9th Street, Suite               11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                           Towers, 1240 Rosecrans LP                    801, Los Angeles, CA,                            Equipment
                                           Ave                                          90015
                                           Manhattan Beach, CA
                                           90266
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No.           Title/Description of Lease         Property Address    Landlord / Counterparty                                                      Abandoned Personal Property
                                                                                                      Address            Effective Date
63 Unexpired Lease                            One Metropolitan      270B Metropolitan          1125 Ocean Avenue,             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              Square                Square, LLC                Lakewood, NJ, 08701                      Equipment
                                              St. Louis, MO 63102

64 Unexpired Lease                            Suite 200              Douglas Emmett 2014,      1299 Ocean Avenue,             11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              808 Wilshire Boulevard LLC                       Suite 1000, Santa                        Equipment
                                              Santa Monica, CA 90401                           Monica, CA, 90401


65 Unexpired Lease                             77 Sands St          RFR/K 77 Sands Owner       375 Park Avenue, 10th          11/6/2023 Miscellaneous Furniture, Fixtures and/or
   For the avoidance of doubt, Debtor occupies Brooklyn, NY 11201   LLC                        Floor, New York, NY,                     Equipment
   the 6th-9th floor Premises at 77 Sands                                                      10152
   pursuant to a separate lease agreement
   that is not being rejected as part of this
   motion
66 Unexpired License Agreement                 54 W 40th St         Blue Bottle Coffee, Inc.   300 Webster Street,            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                               New York, NY 10018                              Oakland, CA, 94607                       Equipment

67 Unexpired Storage License                  311 W 43rd St.        DWF V 311 W 43rd, LLC 200 State Street, 12th              11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              New York, NY 10036                            Floor, Boston, MA,                          Equipment
                                                                                            02109
68 Unexpired Sublease                         437 Madison Avenue    Santander Holdings USA, 2 Morrissey Boulevard,            11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              New York, NY 10022    Inc.                    Dorchester, MA, 02125                       Equipment

69 Unexpired Sublease                         6 East 32nd Street    Dataminr Inc.              6 East 32nd Street, New        11/6/2023 Miscellaneous Furniture, Fixtures and/or
                                              New York, NY 10016                               York, NY, 10016                          Equipment
